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10
11                        UNITED STATES DISTRICT COURT

12         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
13
14    JESUS PIMENTEL, DAVID R.            Case No. 2:14-CV-01371 FMO(Ex)
      WELCH, JEFFREY O’CONNELL,
15    EDWARD LEE, WENDY                   JOINT BRIEF REGARDING THE
16    COOPER, JACLYN BAIRD,               PARTIES’ CROSS-MOTIONS FOR
      ANTHONY RODRIGUEZ,                  SUMMARY JUDGMENT [Fed.R.Civ.P.
17
      RAFAEL BUELNA, ELEN                 56]
18    KARAPETYAN, and all persons
      similarly situated,                 Filed Concurrently With:
19
                                              • Plaintiffs’ Notice of Motion and
20               Plaintiffs,                     Motion for Summary Judgment
21    v.                                      • Defendant’s Notice of Motion and
                                                 Motion for Summary Judgment
22    CITY OF LOS ANGELES                     • Joint Evidentiary Appendix
23                                            • Statement of Uncontroverted Facts
                 Defendant.                   • [Proposed] Orders
24
25                                          Date: October 28. 2021
                                            Time: 10:00 a.m.
26                                          Courtroom: 6D
27                                          Hon. Fernando M. Olguin
28


            JOINT BRIEF REGARDING THE PARTIES’ CROSS-MOTIONS FOR SUMMARY JUDGMENT
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 1              JOINT MEMORANDUM OF POINTS AND AUTHORITIES
 2   Issue To Be Decided on Summary Judgment:
 3         Plaintiffs Jesus Pimentel, David Welch, Jeffrey O’Connell, Edward Lee, Wendy
 4   Cooper, Jaclyn Baird and Rafael Buelna (collectively “Plaintiffs”) 1 assert two claims
 5   for relief against Defendant City of Los Angeles: (1) Violation of the Excessive Fines
 6   Clause under the Eighth Amendment of the United States Constitution, as incorporated
 7   to the states via the Fourteenth Amendment (brought pursuant to 42 U.S.C. § 1983)
 8
     and (2) Violation of the Excessive Fines Clause of the California Constitution (Article
 9
     I, Section 17). This Court previously determined, and the Ninth Circuit affirmed, the
10
     City’s imposition of a $63 civil fine for failing to fund a parking meter or overstaying
11
     the allotted time at the parking meter does not violate the Excessive Fines Clauses of
12
     the Eighth Amendment of the United States Constitution or Article I, Section 17 of the
13
     California Constitution. Pimentel v. City of Los Angeles, 974 F.3d 917, 925 (9th Cir.
14
     2020); Dkt. 140 at p. 14 and Dkt. 141. The sole issue to be decided via the cross-
15
     motions for summary judgment this Court ordered (Dkt. 153) is whether the City’s
16
     imposition of a $63 late payment penalty after the initial parking fine is not timely paid
17
18   (within 21 days) is an excessive fine that violates the federal and state Constitutions.

19   Pimentel, 974 F.3d at 925. Defendant denies the late payment penalty is

20   constitutionally excessive. All Plaintiffs contend that it is in all instances; in addition,
21   plaintiffs Pimentel, O’Connell, Lee, Baird and Buelna challenge the penalty as
22   constitutionally infirm “as applied” to them, given their meager financial means, under
23   the very same criteria the City has applied to determine low-income status in the
24   parking violation context.
25
26
     1
      Plaintiff Anthony Rodriguez lacks standing because he did not pay a late fee.
     Accordingly, the parties filed a stipulation to voluntarily dismiss Rodriguez pursuant to
27   Rules 41 and 21 of the Federal Rules of Civil Procedure. Dkt. 159. Plaintiff Elen
28   Karapetyan was dismissed without prejudice on July 5, 2016. Dkt. 57.

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 1   I.      Summary of the Parties’ Respective Arguments
 2           A.     Defendant’s Summary of Argument
 3           In 2012, the Los Angeles City Council, pursuant to California Vehicle Code
 4   Sections 40203.5 (a) and (b), enacted a $63 late payment penalty for any person who
 5   did not timely pay or contest a parking meter citation. The late payment penalty
 6   doubles the initial, constitutionally sound initial parking meter penalty and is lawful.
 7           Relevant here, the civil penalties are imposed for the failure to pay a parking
 8
     meter (Los Angeles Municipal Code [“LAMC”] §88.13(a)), and/or for the over-time
 9
     use of a metered space (LAMC §88.13(b)). For the past 9 years, the following is the
10
     schedule of civil parking penalties set by the Los Angeles City Council, which applies
11
     to the parking meter violations:
12
          Initial Penalty     Late Payment Penalty       2nd Late Payment Penalty
13
                  $63.00             $63.00                     $25.00
14
     See LAMC §§ 89.60, 88.13(a) and 88.13(b). 2
15
             The Ninth Circuit affirmed the $63 initial penalty is constitutional (Pimentel,
16
17   974 F.3d at 925), but remanded for a determination whether the $63 late payment

18   penalty is grossly disproportional to the offense of failing to pay the initial fine within

19   21 days. Id. 3 The answer should be a resounding no.
20   2
       The City requests the court take judicial notice of these provisions of the Los Angeles
21   Municipal Code. Fed.R.Evid. 201. See also the City’s Request for Judicial Notice
22   (“RJN”), Exhibit “1” to the parties’ joint evidentiary appendix (“JEA.”)
23   3
      Contrary to Plaintiffs’ erroneous characterization below, the Ninth Circuit did not
24   determine there was a material triable fact that precluded summary judgment on this
     issue (see Pimentel, 974 F.3d at 925), nor would such a finding make sense. If
25   summary judgment for the City was appropriate as to the Constitutionality of the initial
26   fine (Id., at 922), logically, summary judgment is similarly appropriate for the late
     payment penalty. See also United States v. 24124 Lemay St., 857 F. Supp. 1373, 1376
27
     (C.D. Cal. 1994) (the determination of whether a civil forfeiture violates the Excessive
28

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 1         Notably, the late payment penalty is not an inherent component of the parking
 2   meter fine; it is entirely the result of Plaintiffs’ inaction. The $63 late payment fee is
 3   imposed only if the constitutionally sound initial penalty is not timely paid, or all
 4   opportunities to contest the fine have been exhausted or waived by the vehicle’s
 5   registered owner, or – if certain guidelines are met for lower income people – a
 6   payment plan is not worked out with the City. The second late payment penalty ($25)
 7   is applied only if payment is not received within approximately 58 days from the date
 8
     the citation was issued. There is no subsequent increased penalty thereafter, whether
 9
     the parking citation is paid immediately after the second late penalty of $25 is applied,
10
     or anytime later. In other words, $151 is the maximum penalty that could be imposed
11
     (exclusive of a remedial $3 DMV hold fee and $27 third-party collection fee if the
12
     parking meter citation remains unpaid within roughly 80 days after issuance). The
13
     parking fines are also not “priorable,” meaning that the initial $63 parking meter
14
     penalty does not increase for subsequent or repeated offenses.
15
           Because the $63 initial fine is not “excessive,” it stands to reason that the
16
     avoidable late payment penalty is inherently valid, and the Constitutional provisions do
17
18   not apply. Yet even applying the Excessive Fines Clauses of the federal and state

19   Constitutions, and the relevant factors analyzing the constitutionality of fines, the

20   City’s late payment penalties are lawful. Plaintiffs cannot overcome the strong
21   presumption the parking meter penalties are Constitutional, and the court is mandated
22   to give great deference to the broad authority of the Los Angeles City Council in
23   imposing the penalty. The $63 late payment penalty was set by City Council to
24
25   Fines Clause of the Eighth Amendment is a question of law suitable for determination
26   by the Court on a motion for summary judgment) and Dkt. 153. There is no triable
     material fact at issue, and this case is ripe for summary judgment.
27
28

                                                 3
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 1   encourage timely payments and discourage late payments. The Ninth Circuit
 2   recognizes the City has a substantial, legitimate interest in timely collection of the
 3   penalties and to ensure its laws are not violated, and Plaintiffs are entirely culpable for
 4   the late payment penalty: in the absence of Plaintiffs’ inaction, no late payment penalty
 5   would be imposed. Because Plaintiffs have subverted the City’s legitimate public
 6   interests, the late payment penalty is not grossly disproportional to the offense of
 7   failing to timely pay or contest their initial fines, and summary judgment should be
 8
     granted for the City.
 9
           B.     Plaintiffs’ Summary of Argument
10
           The appellate panel in essence ruled that this Court erred in granting summary
11
     judgment against the Plaintiffs as to their late penalty payment claim because whether
12
     it is an excessive fine in violation of the Eighth Amendment is a material issue of fact
13
     which precluded summary judgment. Specifically, as to the late payment penalties
14
     which are the subject of these cross-motions, the Ninth Circuit found: “we cannot
15
     endorse the [trial] court’s conclusion that the late fee does not constitute an excessive
16
     fine – at least based on the record presented to us.” 974 F.3d at 925. Unfortunately for
17
18   the Defendant City, this is essentially the fact record that is now before this Court, and

19   the same record that will be presented at trial if summary judgment is not entered.

20         It is not enough to say, as the City does here, that it has an interest in timely
21   payment and that a person who does not timely pay is culpable. The City cannot set
22   whatever penalty it wants, without limit. If that were the case this case would not have
23   been remanded for further inquiry. The penalty is subject to scrutiny as to whether it is
24   excessive. The late penalty here is in fact grossly disproportionate to the offense in
25   issue now—the failure to pay the initial $63 fine within 21 days.
26         The appellate court essentially grounded its ruling that the initial $63 fine for
27   violating the meter was constitutional on an evaluation of the extent of harm caused:
28

                                                 4
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 1   “Here, there is no real dispute that the City is harmed because overstaying parking
 2   meters leads to increased congestion and impedes traffic flow.” 974 F.3d at 924. The
 3   appellate court accepted the City’s argument that causing increased congestion and
 4   impeding traffic flow are significant material harms, and even can implicate safety
 5   concerns. For this reason, the appellate court found the initial violation of a parking
 6   meter to be “minimal but not de minimis.” Id. at 923.
 7         In total contrast, the failure to timely pay the initial $63 fine imposes at most a
 8
     negligible monetary cost on the City, the monetary equivalent of a tiny bit of interest
 9
     on these amounts. That failure thus is of an entirely different nature and order of
10
     magnitude than the harm to the City that the appellate court focused on as to the initial
11
     meter violation; this harm is truly de minimis. Yet, by setting the initial late payment
12
     penalty amount at the exact same dollar amount as the fine for violating the meter
13
     initially, the City necessarily wrongly equates the harm of the two violations.
14
     Plaintiffs submit that the $63 initial late payment penalty is facially grossly
15
     disproportional, and thus should be struck down. As Judge Lee, the author of the
16
     appellate panel’s published opinion, caustically commented at oral argument, the
17
18   City’s initial $63 late payment penalty would make a “loan shark blush.”4 That is an

19   apt description.

20         The City’s second late payment penalty, which is $25, clearly demonstrates the
21   naked disproportionality of the initial $63 late penalty. It is applied if payment is not
22   received within approximately 58 days from the date of the citation. A person who has
23   not paid for 58 days is necessarily more culpable than a person who has not paid
24   within 21 days—the additional 37 days is over 43% longer than the initial 21-day
25
26   4
      See, Transcript of the video recording of Ninth Circuit appellate oral argument
27   conducted on January 7, 2020, at p. 16:16-20. (Ex. 4 to JEA). Video file found at:
28   https://www.youtube.com/watch?v=iMqcxq1SVS4&feature=youtu.be.

                                                 5
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 1   delinquency period that triggers the initial late penalty. Yet the $25 second penalty
 2   deescalates and is $38 less, or less than 40% of the amount of the higher initial $63 late
 3   payment penalty. This topsy-turvy disproportionality lays bare that the initial late
 4   penalty is arbitrary and not reasonably related to deterring late payment, or to any other
 5   legitimate objective. The testimony of various high-ranking City management
 6   likewise confirms that the 100% late penalty is arbitrary.
 7         In the final analysis, the telling question the City has not, and cannot, answer is:
 8
     If its imposition of the second late payment penalty of $25 is sufficient to encourage
 9
     timely payment after 58 days of both the unpaid meter fine and the first late payment
10
     penalty, then why does it impose a $63 first late payment penalty on a smaller unpaid
11
     amount? The first late payment penalty in the amount of $63 is 100% of the $63 meter
12
     violation fine. The second late payment fine of $25 is only 20% of the sum of the
13
     unpaid $63 meter fine and unpaid late payment penalty of $63. The $63 initial late
14
     penalty is more than 250% higher than the $25 second late penalty. The conclusion is
15
     inescapable that the $63 late payment penalty is an unconstitutional excessive fine
16
     because it is facially grossly disproportional to this significantly minor offense (paying
17
18   a $63 fine 21 days late).

19         Under the Supreme Court’s decision in Timbs v. Indiana, 586 U.S. __, 139 S.

20   Ct. 682 (2019), a governmental authority setting high fines in order to raise revenue is
21   subject to additional scrutiny under the Eighth Amendment Excessive Fines analysis.
22   Timbs, at 688-89. The City’s motives in setting the initial $63 late payment penalty are
23   thus highly material. The facts here strongly support an inference that the
24   justifications proffered by the City for the amount of the $63 late penalty are
25   pretextual. Again, equating late payment of the initial fine with that initial fine for
26   violation of the meter, as the City raised the initial fine for overstaying the meter from
27   $35 in 2002 to $63 in 2012, or 64%, it instituted an automatic dollar-for-dollar increase
28

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 1   of the late payment penalty. In other words, the City raised the late penalty arbitrarily
 2   (always in lockstep), without rhyme or reason, or deterrent or remedial need. The City
 3   cannot explain or supply a basis or rationale for the magnitude of this penalty; instead,
 4   the record supports the conclusion that it was done simply for financial reasons to meet
 5   the general budget needs of the City.
 6         Finally, as this Court correctly previously ruled in this case on a motion to
 7   dismiss the complaint, ability to pay is a relevant factor in the excessive fines analysis
 8
     at this point. Dkt. No. 23 at 11:6-25. As explained below, that conclusion is well-
 9
     grounded in the history behind the Eighth Amendment and there is Ninth Circuit
10
     authority supporting it. That is also indisputably the law in California as plaintiffs’
11
     claim under the California Constitution. People ex rel v R.J. Reynolds Tobacco Co., 37
12
     Cal.4th 707, 728 (2006). All five low-income plaintiffs in this case declared they
13
     could not afford to pay the initial fine at the time due, so they were assessed the 100
14
     percent late payment penalty. These five low-income plaintiffs here clearly do make
15
     an alternative “as applied” challenge to the initial $63 late penalty on that basis.5 So
16
     the Court can, and should, consider this factor as to them.
17
18         Plaintiffs submit that on this record they are entitled to summary judgment as a

19   matter of law. If not, Plaintiffs submit they are entitled to a jury trial to determine the

20   facts to resolve the excessive fine inquiry. While a judge in a criminal context
21
22
23   5
       Recognizing this, on September 11, 2020, the appellate panel amended its initial slip
24   opinion to delete the statement that: “And in any event, appellants appear to have
     brought a facial challenge, so means-testing makes little sense here.” 974 F.3d at 920.
25   The Ninth Circuit otherwise on appeal declined to reach this issue, as did the Supreme
26   Court in Bajakajian and Timbs. It did not purport to reverse this Court’s finding in this
     case that ability to pay the allegedly excessive penalty is a relevant factor to consider
27   and balance.
28

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 1   necessarily imposes criminal fines and not a jury, this is a civil case bought under 42
 2   U.S.C. Section 1983. Plaintiffs are entitled to a jury trial, as in any civil rights case.
 3   II.   The Relevant Facts
 4         A.     Defendant’s Statement of the Undisputed Facts
 5         California Vehicle Code Sections 40203.5 (a) and (b) authorize Defendant City
 6   of Los Angeles to impose and collect monetary civil parking penalties for the failure to
 7   pay and/or for the improper extended use of a metered parking space. Defendant’s
 8
     Undisputed Material Fact (“UMF”) D1. As such, the Los Angeles City Council
 9
     established a schedule of civil parking penalties, which includes fines for parking
10
     meter violations and late payment penalties. UMF D2, LAMC §89.60 6. Since 2012,
11
     the initial penalty for a parking meter violation is $63. UMF D3, LAMC §§ 89.60,
12
     88.13(a) & 88.13(b). This penalty is doubled to $126 if the initial payment is not
13
     timely received, and all opportunities to contest the fine have been exhausted or
14
     waived by the vehicle’s registered owner. UMF D4, Id.; Cal. Veh. Code §§ 40215(a)
15
     & (b); 03/16/17 Deposition of Robert Andalon (“03/16/17 Andalon Dep.”) at 51:13-
16
     21.7 There are three avenues to contest the parking meter penalties under the
17
18   California Vehicle Code: initial review, administrative hearing, and de novo appeal to

19   the California Superior Court. UMF D5, Cal. Veh. Code §§ 40215 (a), (b), (c) &

20   40230. A second late payment penalty of $25 is applied if payment is not received
21   within approximately fifty-eight (58) days from the date the citation was issued. UMF
22   D6, LAMC §§ 89.60, 88.13(a) & 88.13(b); 03/16/17 Andalon Dep. at 51:22-52:8. If
23   the parking ticket is still not paid within roughly eighty (80) days after it is issued, a $3
24   DMV hold fee and a $27 collection fee payable to the City’s third-party contractor is
25
26
     6
       The relevant provisions of the LAMC are collectively attached as Exhibit “1 (a)” to
     the JEA.
27   7
       The relevant pages from the 03/16/17 Andalon Dep. are collectively attached as
28   Exhibit “2 (a)” to the JEA.

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 1   added. UMF D7, 03/16/17 Andalon Dep. at 52:9-53:10, 129:15-130:2 & 181:17-
 2   183:13. The $3 DMV hold fee and $27 collection fee are remedial sums; they are not
 3   monetary penalties the City receives. UMF D8, 03/16/17 Andalon Dep. at 52:9- 53:10,
 4   129:15-130:2 & 181:17-183:13; Declaration of Mark Granado (“Granado Dec.”) at ¶
 5   4. 8 There is no subsequent increased fine thereafter, whether the parking citation is
 6   paid immediately after the second late penalty of $25 (and remedial fees) are applied,
 7   or anytime later. UMF D9, LAMC §§ 89.60, 88.13(a), & 88.13(b); 03/16/17 Andalon
 8
     Dep. at 51:22-53:10. The parking fines are not “priorable,” meaning the $63 initial
 9
     fine, and the late payment penalties, do not increase for subsequent or repeated
10
     offenses. UMF D10, LAMC §§ 89.60, 88.13(a) & 88.13(b).
11
           The $63 late payment penalty is not imposed if the initial fine is paid to the City
12
     within 21 days of the citation date. UMF D11, Cal. Veh. Code § 40215 (a); 03/16/17
13
     Andalon Dep. at 52:4-6; 08/19/21 Deposition of Mark Granado (“08/19/21 Granado
14
     Dep.”) at 10:6-13.9 The late payment penalty can also be avoided by requesting an
15
     initial review of the parking meter citation within 21 days from the citation date or 14
16
     days from the first notice date. UMF D12, Cal. Veh. Code § 40215(a); 08/19/21
17
18   Granado Dep. at 10:14-20 & 12:10-13:20. A person is not required to pay any civil

19   penalty (i.e., the initial fine or any late payment penalty) if the initial review is timely

20   requested. Id. If a person remains dissatisfied following the initial review, there are
21   two additional levels of review of the parking meter citation, which solely require
22   payment of the initial fine and not any late payment penalties. UMF D13, Cal, Veh.
23   Code §§40215 (b), (c) & 40230; 09/06/16 Deposition of Roseanne Beachum
24   (“09/06/16 Beachum Dep.”) at 30:1-2310; 08/19/21 Granado Dep. at 30:20- 31:24.
25
26
     8
       Exhibit “3” to the JEA.
     9
       The transcript from the 08/19/21 Granado Dep. is attached as Exhibit “34” to the JEA.
27   10
        The relevant pages from the 09/06/16 Beachum Dep. are collectively attached as
28   Exhibit “2 (b) to the JEA.

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 1         Additionally, for any person whose financial situation qualifies them as a very
 2   low-income household (using guidelines established by the federal government), prior
 3   to July 2018, an installment payment plan for the initial fine as well as any late
 4   payment penalties could have been requested from the City, and since July 2018,
 5   following the City’s successful lobbying efforts to the State Legislature resulting in
 6   changes to the Vehicle Code, an installment payment plan could be requested which
 7   would eliminate the late payment penalty so long as certain threshold requirements are
 8
     met. UMF D14, 09/06/16 Beachum Dep. at 29:5-25, 30:24-32:1 & 33:13-34:5;
 9
     03/16/17 Andalon Dep. at 112:18-116:12; 08/19/21 Granado Dep. at 15:7-20:17,
10
     21:10-23:15, 24:6-28:3, & 36:3-37:20. All of the City’s installment payment plans
11
     could be requested at any time, even if the initial fine was not timely paid. UMF 15,
12
     09/06/16 Beachum Dep. at 29:5-25, 30:24-32:1 & 33:13-34:5; 03/16/17 Andalon Dep.
13
     at 112:18-116:12; 08/19/21 Granado Dep. at 15:18-18:25, 21:10-23:15 & 24:6-26:20.
14
     Notably, there is no evidence any Plaintiff sought a payment plan from the City for any
15
     of their parking meter fines or penalties. Furthermore, in February 2017, the City’s
16
     Community Assistance Parking Program was established, which allows persons
17
18   experiencing homelessness to perform community service in lieu of paying any

19   parking citation penalty (initial or late penalty). UMF D16, 03/16/17 Andalon Dep. at

20   112:18-116:12; 08/19/21 Granado Dep. at 20:18-25. The late payment penalty is
21   intended to deter people from not timely paying their parking meter violation penalty.
22   UMF D17, 03/16/17 Andalon Dep. at 56:9-57:3 & 85:17-86:6
23         B. Plaintiffs’ Statement of Undisputed Material Facts and Response to
24         Defendant’s Statement of Undisputed Facts
25         Most of the facts as stated by the City are undisputed, but one bears elaboration,
26   one is not relevant or material and is purposely vague, if not misleading, and one is
27   disputed.
28

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 1          While, as the City states, a cited party is not subjected directly to additional
 2   monetary charges after the $3 DMV hold fee and the $27 collection fee (UMF D8), he
 3   or she faces a host of collection cudgels that can result in significant monetary harm. 11
 4          The City states that if timely review of the merits of the citation is sought no late
 5   penalty is imposed. (UMF D12-D13). This is entirely irrelevant to Plaintiffs’ claims,
 6   in that none of them sought to challenge their citation on the basis they did not
 7   overstay the meter. So why would they seek administrative or court review on the
 8
     merits? (Nor does the City state that late penalties are not payable if the challenge to
 9
     the citation is not upheld, because it cannot).
10
            As to waiver of the penalty as to a very low-income person who seeks and
11
     obtains an installment plan (UMF D14-D15), by definition it was premised on such a
12
     person learning of the availability of the plan. The City does not claim, because it
13
     cannot, that it has ever advised a cited party, either on the initial citation itself, or on
14
     any subsequent notice that there is a payment plan for the initial fine, let alone for the
15
     late penalty. 12 As to waiver of the late penalty for such persons, the City concedes that
16
     this program did not go into place until July 2018, after the time frame in which
17
18
19
20
     11
        The ultimate hammers the City has and threatens to enforce payment with are:
     withholding of vehicle registration by the Department of Motor Vehicles,
21   immobilization (booting) or impoundment by the City under California Vehicle Code
22   (“CVC”) sections 22651.7, and 22651(i), a civil court judgment under CVC section
     40220, subjecting persons who do not pay to damaged credit standing by reporting the
23   failure to pay to a national credit reporting company, wage garnishment, and to a State
24   tax refund intercept of the amount owed. (See Ex. 33 at JEA) (initial warning notice to
     plaintiff Edward Lee (listing threats).
25   12
          Presumably a very low-income person has to intuit that, or navigate the
26   Department of Transportation website, or otherwise communicate successfully with
     appropriate City personnel to learn of it.
27
28

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             JOINT BRIEF REGARDING THE PARTIES’ CROSS-MOTIONS FOR SUMMARY JUDGMENT
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 1   Plaintiffs’ citations in this case were issued. (Granado Depo., pp. 13-16, 18, 30-32, Ex.
 2   34 to JEA) 13
 3         The following undisputed material facts put forth by Plaintiffs forcefully
 4   demonstrate that summary judgment should be granted in Plaintiffs’ favor and against
 5   the City. The City’s imposition of a 100% penalty ($63) for failure to timely pay the
 6   initial fine (within 21 days) is impermissibly excessive because it is grossly
 7   disproportionate to the gravity of the offense (paying late). Plaintiffs’ Undisputed
 8
     Material Fact (“UMF”) P1. The 100% late payment penalty imposed by the City is not
 9
     based on or tethered to any objective formula, index, interest rate, collection fee,
10
     inflation or cost criteria. (UMF P2).14 The making of a late payment on a parking
11
     meter violation is not a serious or criminal offense or a safety-related offense. (UMF
12
     P3-P4). There is no evidence to show that the late payment of a parking meter fine is
13
     generally accompanied by or related to another crime. (UMF P5). The City did not
14
     conduct any study or analysis of the affordability of the late penalty. (UMF P6). The
15
     payment of the late penalty would, or did, impose a financial hardship on at least five
16
     of the named Plaintiffs. (UMF P7). Finally, the 100% late payment penalty was set at
17
18   a high rate in substantial part for the improper purpose of generating and providing

19   income to the City’s General Fund. (UMF P8).

20         Further, no quantitative or empirical evidence has been proffered to demonstrate
21   that the 100% late payment penalty has any deterrent effect on future parking meter
22   13
        The City attempts to portray itself as magnanimous, but in fact the Vehicle Code
23   contains sections providing that there shall be no charge for an initial review
24   (40215(a)), for installment payments for those unable to pay in full (40203.5(b)(3) and
     40404(b), and for indigent persons not having to pay the parking penalty to obtain an
25   administrative hearing (40220.5).
26   14
       Indeed, the General Manager of the Los Angeles Department of Transportation
27   testified that she did not have any idea as to why the late payment penalty was set at
28   100% of the initial fine. (Reynolds Depo., pp. 94-95, Ex. 19 to JEA).

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 1   violations or encourages compliance. (UMF P9). The City does not provide any notice
 2   or warning on its parking meters of a potential $63 late payment penalty, or on nearby
 3   signage. (UMF P10). In sum, on this undisputed evidentiary record, the City cannot
 4   escape the plausible conclusion that its arbitrary and untethered 100% late payment
 5   penalty constitutes an “excessive” fine. (Beeber Decl., ¶ 21, Ex. 5 to JEA).
 6   III.   The Constitutional Provisions
 7          The Eighth Amendment to the United States Constitution provides: “Excessive
 8
     bail shall not be required, nor excessive fines imposed, nor cruel and unusual
 9
     punishments inflicted.” Article I, Section 17 of the California Constitution states
10
     “[c]ruel or unusual punishment may not be inflicted or excessive fines imposed.” The
11
     same standard and case authority apply in evaluating Plaintiffs’ claims under both the
12
     federal and state excessive fines constitutional provisions. See Brownlee v. Burleson,
13
     2006 U.S. LEXIS 61091, *20-21 (E.D. Cal. 2006) (recommending summary judgment
14
     on the California Excessive Fines Constitutional claim “[b]ecause this court finds that
15
     all defendants are entitled to summary judgment on [the] Eighth Amendment Claim”);
16
     see also In re Alva, 33 Cal.4th 254, 291 (2004) (“We see no basis to find a different
17
18   meaning of ‘punishment for state purposes than would apply under the Eighth

19   Amendment.’”). People ex rel. Lockyer v. R.J. Reynolds Tobacco Co., 37 Cal.4th 707,

20   727-730 (2005) (considering federal and state case law together in determining what
21   factors were relevant to the constitutional “evaluation of the fine assessed against the
22   defendant” and finding it unnecessary to evaluate the federal and state constitutional
23   provisions separately.) Accordingly, because the same standard and case authority
24   applies in evaluating Plaintiffs’ claims under both federal and state constitutional
25   provisions, this court should consider the two claims for relief together in determining
26   the parties’ cross-motions for summary judgment.
27
28

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 1         The Excessive Fines Clause of the Eighth Amendment to the United States
 2   Constitution limits the Government’s power to extract payments, whether in cash or in
 3   kind, “as punishment for some offense.” Austin v. United States, 509 U.S. 602, 609-
 4   610 (1993). Civil penalties are “fines” if they constitute punishment for an
 5   offense. United States v. Bajakajian, 524 U.S. 321, 328 (1998) (Bajakajian). The
 6   Excessive Fines Clause of the Eighth Amendment prohibits punitive, as opposed to
 7   remedial, fines. Austin, 502 U.S. at 609.15 The Eighth Amendment is incorporated to
 8
     the States through the Fourteenth Amendment (Timbs v. Indiana, ___ U.S.___, 139 S.
 9
     Ct. 682, 687 (2019)), and the excessive fines analysis in Bajakajian applies to
10
     municipal fines. Pimentel, 974 F.3d at 922. The Ninth Circuit determined
11
     the Timbs decision “affirmatively opens the door for Eighth Amendment challenges”
12
     to fines imposed by the City. Id.
13
     IV.   Defendant’s Argument: The $63 Late Payment Penalty is Constitutional.
14
           A.     A Late Payment Penalty of $63 is So Trivial That it Should Not Be
15
                  Subject to an Excessive Fines Challenge
16
           Whether the City’s late payment penalty violates the Excessive Fines Clauses of
17
18   the federal and state Constitution is a matter of law appropriate for determination on

19
20   15
        Defendant contends that because the $3 DMV hold fee and $27 collection fee are
21   remedial, these amounts are not subject to the Excessive Fines Clauses. Austin, 502
     U.S. at 609. Plaintiffs contend they are in fact defined as penalties in Vehicle Code
22
     section 40200.3. Although Defendant disputes the veracity of Plaintiffs’ argument, it
23   contends that is of no moment for the following reasons. Regardless of how the
24   Vehicle Code defines the sums, the remedial character of these penalties remains
     unchanged; because they are not imposed for punitive reasons, the $3 DMV hold fee
25   and $27 collection fee are not subject to the Constitutional provisions. Austin, 502 U.S.
26   at 609. Furthermore, these fees are imposed solely if a parking meter violation citation
     remains unpaid within roughly 80 days of its issuance, and as such, are entirely
27   avoidable. 3/16/17 Andalon Dep. at 52:9-53:10, 129:15-130:2 and 181:17- 83:13, Ex.
28   “2(a)” to JEA; Granado Dec. at ¶ 4, Ex. “3”to JEA; UMF D7 & D8.

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 1   summary judgment. See United States v. 24124 Lemay St., 857 F. Supp. 1373, 1376-
 2   1377 (C.D. Cal. 1994) (the determination of whether a civil forfeiture violates the
 3   Eighth Amendment is a matter of law suitable for determination by the court on a
 4   motion for summary judgment and collecting cases); Pimentel, 974 F.3d at 925
 5   (affirming grant of summary judgment as to Excessive Fines challenge to City’s initial
 6   $63 parking meter penalty).
 7         By their plain language, the Excessive Fines Clauses only apply to “fines” that
 8
     are “excessive.” U.S. Const., Amendment VIII; Cal. Const., Article I, § 17.
 9
     Excessive is defined as “exceeding what is usual, proper, necessary or normal.”
10
     https://www.merriam-webster.com/dictionary/excessive, September 23, 2021. 16 The
11
     City’s parking penalties are routine (Pimentel, 974 F.3d at 928, J. Bennett, concurring),
12
     and accordingly, do not exceed what is usual, proper, necessary or normal. Thus, the
13
     federal and state Constitutions’ Excessive Fines Clauses should not apply to the City’s
14
     late payment penalty. See Pimentel, 974 F.3d at 928 (J. Bennett, concurring, arguing
15
     the Eighth Amendment should not apply. “I believe applying the Excessive Fines
16
     Clause to the types of charges at issue, improperly trivializes the Eighth Amendment,
17
18   the Fourteenth Amendment, and the Civil Rights Acts.” Id., at 928.) Indeed, in his

19   concurrence, Judge Bennett opined that a “baseline” should be developed before the

20   courts should even consider an Excessive Fine violation claim for civil penalties.
21   Pimentel, 974 F.3d at 928, n. 8. Certainly $63 falls within the category or baseline of
22   not being excessive as a matter of law – as the Ninth Circuit already determined with
23   regard to the City’s $63 initial fine.
24         B.     The City’s Late Payment Penalty is Constitutional
25
26
27    The City requests the court take judicial notice of the definition of “excessive.”
     16


28   Fed.R.Evid. 201. See also RJN, Ex. “1” to JEA.

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 1         But even applying the Excessive Fines Clauses, the City’s late payment fee is
 2   constitutional under both the federal and state Constitutions. The Excessive Fines
 3   Clauses are violated only if the City’s late payment penalty is grossly disproportional
 4   to the gravity of the offense. Bajakajian, 524 U.S. at 334. The Supreme Court noted
 5   that neither the text of the Eighth Amendment’s Excessive Fines Clause nor its history
 6   provides guidance as to how disproportional to the gravity of an offense a punitive
 7   forfeiture must be in order to be found “excessive.” Thus, two considerations must be
 8
     relied upon: (a) judgments about appropriate punishments belong in the first instance
 9
     to the broad authority of the legislature, and (b) any judicial determinations concerning
10
     punishments will be “inherently imprecise.” Id., at 336. “Both of these principles
11
     counsel against requiring strict proportionality between the amount of a punitive
12
     forfeiture and the gravity of a criminal offense, and we therefore adopt the standard of
13
     gross disproportionality articulated in our Cruel and Unusual Punishments Clause
14
     precedents.” Id., (internal citations omitted). In other words, there is no mathematical
15
     formula for determining excessiveness, nor is there any specific line that demarcates a
16
     fine as being constitutional versus unconstitutional. It appears impossible, however, to
17
18   characterize a 1:1 ratio as being “grossly disproportional.”

19         1.     There is a Strong Presumption the Late Payment Penalty is

20   Constitutional, and Great Deference Must Be Given to the Los Angeles City
21   Council
22         Plaintiffs have the burden of proving the $63 late payment penalty is grossly
23   disproportional and therefore unconstitutional. See United States v. $132,245.00 in
24   U.S. Currency, 764 F.3d 1055, 1058 (9th Cir. 2014) (explaining that the claimant has
25   the burden of establishing that the forfeiture is grossly disproportional to the offense);
26   U.S. v. Busher, 817 F.2d 1409, 1415 (9th Cir. 1987). As a matter of law, Plaintiffs
27   cannot meet their burden.
28

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             JOINT BRIEF REGARDING THE PARTIES’ CROSS-MOTIONS FOR SUMMARY JUDGMENT
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 1         While the California Vehicle Code permits the City to establish the civil parking
 2   penalties, it does not mandate a specific or maximum amount for the late payment
 3   penalties. California Vehicle Code § 40203.5 provides in relevant part as follows:
 4                “(a) The schedule of parking penalties for parking violations and late
 5                payment penalties shall be established by the governing body of the
 6                jurisdiction where the notice of violation is issued. To the extent possible,
 7                issuing agencies within the same county shall standardize parking
 8
                  penalties.
 9
                  (b) Parking penalties under this article shall be collected as civil
10
                  penalties.”
11
           The Los Angeles City Council has extremely broad discretion in setting the
12
     range of permissible penalties. Id.; Bajakajian, 524 U.S. at 336 citing to Solem v.
13
     Helm, 463 U.S. 277, 290 (1983) (“Reviewing courts… should grant substantial
14
     deference to the broad authority that legislatures necessarily possess in determining the
15
     types and limits of punishments for crimes”) and also citing to Gore v. United States,
16
     357 U.S. 386, 393 (1958) (“Whatever views may be entertained regarding severity of
17
18   punishment, … these are peculiarly questions of legislative policy”). And see

19   Pimentel, 974 F.3d at 924 (same). Furthermore, the Supreme Court explicitly

20   indicated in Bajakajian, 524 U.S. at 336 “…that judgments about the appropriate
21   punishment for an offense belong in the first instance to the legislature.”
22         Because the $63 late payment penalty is established by LAMC section 89.60, as
23   authorized by the California Vehicle Code, a strong presumption exists the late
24   payment fee is constitutional. See Rosenblatt v. City of Santa Monica, 940 F.3d 439,
25   447 (9th Cir. 2019) (courts presume a municipal ordinance does not violate the
26   Constitution); see also United States v. 817 N.E. 29th Drive, 175 F.3d 1304, 1309 (11th
27   Cir. 1999) (if the fine “is within the range of fines prescribed by Congress, a strong
28

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 1   presumption arises that the forfeiture is constitutional”); Morrow v. City of San Diego,
 2   2011 U.S. Dist. LEXIS 120419, *15-16, 2011 WL 4945015 (S.D. Cal. 2011) (citing
 3   same). Indeed, the late payment penalty cannot violate the Eighth Amendment as a
 4   matter of law because it does not exceed any limits prescribed by the authorizing
 5   statute. Newell Recycling Co. v. United States Envtl. Prot. Agency, 231 F.3d 204, 210
 6   (5th Cir. 2000) (“No matter how excessive [in lay terms] an administrative fine may
 7   appear, if the fine does not exceed the limits prescribed by the statute authorizing it,
 8
     the fine does not violate the Eighth Amendment.”)
 9
           Excessiveness is a highly subjective judgment call, mandating that the Court be
10
     hesitant to substitute its opinion for that of the people. United States v. 817 N.E. 29th
11
     Drive, 175 F.3d at 1309. The Los Angeles City Council is a representative body, and
12
     its enactment of the civil parking penalty schedule represents the collective opinion of
13
     the residents of the City of Los Angeles. Therefore, City Council’s schedule for the
14
     civil penalties must be given great weight and deference. See Pimentel, 974 F.3d at
15
     927 (J. Bennett, concurring “I see no constitutional reason why cities like Los Angeles
16
     cannot similarly freely set parking rates, including holdover and late fees, unrestrained
17
18   by the Constitution…. Or to put it another way, Los Angeles should be able to

19   generally structure its parking rates, including by deterring holdovers and encouraging

20   prompt payment, restrained only by state law and its own municipal code and
21   regulations.”) Plaintiffs’ criticism of the $63 first late payment penalty, followed by a
22   $25 second late payment penalty, is of no moment because the parking penalty
23   schedule is within the discretion of the Los Angeles City Council based on its
24   judgment of the appropriate amounts to encourage prompt payments and deter
25   noncompliance; it is not for Plaintiffs to dictate the penalty amounts or logic of the
26   schedule.
27
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 1         Indeed, what Plaintiffs seek to do through this lawsuit is usurp the discretionary
 2   authority of elected local officials and to have the Court step into the shoes of the City
 3   Council Members to set the City’s late payment parking penalties in the way Plaintiffs
 4   see fit. This effort is a flagrant violation of the longstanding doctrines of federalism
 5   and separation of powers, which limit the role of the federal judiciary. See Lewis v.
 6   Casey, 518 U.S. 343, 385 (1996) (“Principles of federalism and separation of powers
 7   impose stringent limitations on the equitable power of federal courts) (Thomas, J.,
 8
     concurring); see also Horne v. Flores, 557 U.S. 433, 448 (2009) (“Federalism concerns
 9
     are heightened when…a federal-court decree has the effect of dictating state or local
10
     budget priorities.”) Given these well-established doctrines, and that judgments about
11
     the appropriate penalties are matters of legislative policy warranting great deference to
12
     the Los Angeles City Council, Plaintiffs have not and cannot establish the City’s $63
13
     late payment penalty is an unconstitutional Excessive Fine.
14
                  2.     Under the Relevant Bajakajian Factors, the Late Payment
15
                         Penalty is Not Unconstitutionally Excessive
16
           In determining whether a fine is grossly disproportional to the underlying
17
18   offense, courts in the Ninth Circuit generally consider four factors: “(1) the nature and

19   extent of the underlying offense; (2) whether the underlying offense related to other

20   illegal activities; (3) whether other penalties may be imposed for the offense; and (4)
21   the extent of the harm caused by the offense.” Pimentel, 974 F.3d at 921 citing United
22   States v. $100,348 in U.S. Currency, 354 F.3d 1110, 1123 (9th Cir. 2004) (setting forth
23   the “Bajakajian factors”). Notably, Bajakajian “‘does not mandate the consideration
24   of any rigid set of factors.’” Pimentel, 974 F.3d at 921 citing United States v. Mackby,
25   339 F.3d 1013, 1016 (9th Cir. 2003). Here, in considering the relevant factors, the late
26   payment penalty is not unconstitutionally excessive.
27
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 1                       a.     Plaintiffs are Blameworthy for not Timely Paying the
 2                              Parking Meter Fine, Seeking an Installment Plan, or
 3                              Challenging the Parking Meter Citation
 4         In evaluating the first Bajakajian factor, the gravity of the offense, the violator’s
 5   culpability is typically assessed. Pimentel, 974 F.3d at 922. “It is critical, though, that
 6   the court review the specific actions of the violator rather than by taking an abstract
 7   view of the violation.” Id., at 923. Plaintiffs are indisputably culpable because they
 8
     first violated the law (LAMC § 88.13) and then failed to take steps to avoid the late
 9
     payment penalty. Id. Significantly, after Plaintiffs violated the law, and after being
10
     cited for their violation, Plaintiffs (a) failed to timely pay the initial parking meter
11
     penalty, (b) failed to timely contest the citation, or (c) failed to request an installment
12
     payment plan with the City. 08/19/21 Granado Dep. at 15:7-20:17, 21:10-23:15, 24:6-
13
     28:3 & 36:3-37:20, Ex. “34” to JEA.
14
           It is woefully improper for Plaintiffs to argue the late fees they incurred because
15
     of their own fault should be rendered unconstitutional. The late payment penalty is not
16
     an inherent component of the parking meter fine; it was entirely in the control of
17
18   Plaintiffs in the first instance to comply with the law and avoid getting fined, or to take

19   action to avoid the late payment penalty after receiving the parking meter violation

20   citation. Plaintiffs’ inaction, which resulted in the imposition of the late payment
21   penalty, does not render the late penalty “grossly disproportional.” As held in
22   Wemhoff v. City of Baltimore, 591 F.Supp.2d 804, 809, 2008 U.S. Dist. LEXIS 104398
23   at ** 10 (U.S.D.C., MD, 2008) “The fact that the overall fine has now grown to
24   hundreds of dollars is more a reflection of Mr. Wemhoff’s failure to timely pay or
25   contest the original fine owed than it is a reflection of unconstitutional excess in the
26   design of the late payment penalty.”
27
28

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 1         Multiple non-binding legal decisions throughout the country support the City’s
 2   $63 late payment penalty is constitutional and entirely within Plaintiffs’ control to
 3   avoid outright. See Popescu v. City of San Diego, 2008 U.S. Dist. LEXIS 5712* 10-
 4   12; 2008 WL 220281, 1 (S.D. Cal. 2008) ($47 initial parking violation penalties, which
 5   doubled to $94 after 30 days, and increased again to $104 if continued to be unpaid
 6   were not unconstitutional excessive fines despite the Court’s opinion $47 was “overly
 7   harsh” and the penalties were designed more to increase revenue for the city rather
 8
     than to punish the violators’ behavior. Id., at *12, fn. 2.); Wemhoff v. City of
 9
     Baltimore, 591 F.Supp.2d 804, 807 (plaintiff’s $519 total penalty for parking at an
10
     expired meter, the initial $23 citation, and the late penalty fee of $16 per month were
11
     not unconstitutional excessive fines because, like here, the late penalties were not an
12
     inevitable feature of the penalty but were the result of the plaintiff failing to timely pay
13
     or contest the original fine. Id.); Moustakis v. City of Fort Lauderdale, 338 Fed. Appx.
14
     820, 821 (11th Cir. 2009) (the plaintiffs for years allowed penalties of $150 per day to
15
     be assessed for uncorrected code violations resulting in a $700,000 lien being placed
16
     on their property. The Eleventh Circuit rejected the plaintiffs’ Eighth Amendment
17
18   excessive fines argument, observing the plaintiffs created the $700,000 penalty by

19   failing to bring the house into compliance. Id., at 822. The Court determined the

20   $700,000 was directly proportionate to the offense, and was not grossly
21   disproportional, because it represented a small fine [$150] assessed for each day the
22   homeowners failed to comply. Id.); Duisberg v. City of Austin, 2020 Tex. App. LEXIS
23   8209*, 2020 WL 6122951, 1 (Tx. Oct. 16, 2020) (penalties for violating a civil
24   ordinance initially accrued at the rate of $10 per day, were subsequently changed to
25   $500 per week, and ultimately resulted in over $33,000 in civil penalties being
26   assessed against the plaintiff. The Texas Court of Appeal held the Eighth Amendment
27   was not violated because the plaintiff’s own delay and inaction resulted in the accrual
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 1   of the civil penalties. Id., at *10. “In effect, Duisberg asks us to countenance his
 2   continual violations of housing codes by striking down the penalty he permitted to
 3   accrue by his own knowing inaction.” Id., at *10-11.); Conley v. City of Dunedin, 2010
 4   U.S. Dist. LEXIS 1978*, 2010 WL 146861, 1 (M.D. FL Jan. 11, 2019) (plaintiff
 5   violated two Florida ordinances that provided for penalties of $50 per day and $100
 6   per day, respectively, to be accrued. Id., at *14. Because the plaintiffs failed to pay
 7   the penalties for 3.5 years, approximately $198,000 in penalties were assessed. Id., at
 8
     *6. In rejecting the plaintiff’s Eighth Amendment “excessive fine” claim, the district
 9
     court indicated the daily fines [$50 and $100] were small, they fell within the range
10
     allowed by the Legislature and as such, great deference had to be given to their
11
     Constitutionality, and plaintiffs’ refusal to comply with the law for years did not make
12
     the $50 and $100 daily fines “excessive.” Id., at *15.); Shibeshi v. City of N.Y., 2011
13
     U.S. Dist. LEXIS 164059, at *5-6, 2011 WL 13176091 (S.D.N.Y. Sep. 21, 2011) (the
14
     plaintiff’s fines totaling $515.16 for four tickets, plus additional fees, were not grossly
15
     disproportional, and did not violate the Eighth Amendment, especially where the
16
     plaintiff did not indicate any efforts to challenge the tickets.)
17
18         Because Plaintiffs are indisputably culpable for the imposition of the late

19   payment penalty, just like the plaintiffs in the above cited cases, this first Bajakajian

20   factor supports that the City’s $63 late payment penalty is not an unconstitutional
21   excessive fine. Although Plaintiffs unpersuasively attempt to minimize the multiple,
22   nationwide decisions the City relies on, conspicuously absent is any authority cited by
23   Plaintiffs that found (1) a $63 civil penalty (or any amount remotely close) was an
24   unconstitutional Excessive Fine, (2) Plaintiffs’ own culpability and inaction for failing
25   to timely pay their parking fines should be disregarded in determining the
26   constitutionality of the late payment penalty, or (3) summary judgment in favor of the
27   City is improper. See also 05/21/18 Order re Summary Judgment at pp. 14-15. Dkt.
28

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 1   131 (“Indeed, plaintiffs have not cited to a single case in which an excessive fines
 2   claim for a parking or other traffic citation survived summary judgment. [Citation.] To
 3   the contrary, all of the Eighth Amendment cases cited by the parties in the context of
 4   parking violations, and all of the authorities found by the court on its own review,
 5   support dismissal here.”)
 6                               b.     State Law Does Not Provide for Other Penalties
 7         Regarding the third factor, 17 the court is to look at other penalties the Legislature
 8
     has authorized. United States v. $100,348.00 in United States Currency, 354 F.3d
 9
     1110, 1122 (9th Cir. 2004). As discussed in section IV(B)(1), infra, the late payment
10
     penalty was established in 2012 by the Los Angeles City Council as authorized by, and
11
     in accordance with, the California Vehicle Code. The Vehicle Code does not suggest
12
     any alternative penalty yet mandates the Los Angeles City Council to set the penalty
13
     schedule and collect them as civil penalties. Cal. Veh. Code §§ 40203.5 (a) and (b).
14
     This third Bajakajian factor also supports that the $63 late payment penalty is not an
15
     unconstitutional excessive fine.
16
                                 c.     The Harm Caused is Related to the Gravity of the
17
18                                      Offense

19         The final factor, the extent of the harm caused by failing to timely pay the initial

20   parking citation fine, also confirms the City’s late payment penalty is constitutional.
21   The Ninth Circuit recognizes the City has a substantial interest in promptly collecting
22   civil penalties, being spared the cost of further collection efforts, and conserving scarce
23   resources. Yagman v. Garcetti, 852 F.3d 859, 866 (9th Cir. 2017). California courts
24   recognize this same interest. See Love v. City of Monterey, 37 Cal.App.4th 562, 581-
25
26
     17
       Because failing to timely pay a parking meter violation citation is not normally
27   related to other illegal activities, the second Bajakajian factor is inapplicable.
28

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 1   82 (1995) (it is a legitimate public interest to obtain prompt payment of parking
 2   penalties); and see Tyler v. Cty. of Alameda, 34 Cal.App.4th 777, 785 (1995) (while
 3   the plaintiff’s interest in his or her money is significant, the $250 imposed as a parking
 4   penalty in Tyler was not so great as to render the deprivation a serious loss to the
 5   plaintiff.) The City has a legitimate interest to collect the money due to it promptly, to
 6   avoid collection efforts, and to try and achieve uniformity and consistency in
 7   processing citations to conserve resources. See Yagman, 852 F.3d at 866 (the City’s
 8
     requirement that the initial parking penalty be deposited before the citation’s second
 9
     level review ensures the penalty will be timely collected following unsuccessful
10
     challenges.)
11
           By failing to timely pay or contest their parking meter citations or seeking an
12
     installment payment plan (if financial circumstances warrant one), Plaintiffs have
13
     subverted the City’s legitimate public interests. But the monetary injury to the City in
14
     not timely collecting the sums owed from the parking meter citation penalties is not the
15
     only harm that exists, and courts in the Ninth Circuit are instructed to consider how the
16
     violation erodes the government’s purposes for proscribing the conduct. Pimentel, 974
17
18   F.3d at 923; see also Mackby, 339 F.3d at 1014-15 (non-monetary injury may be

19   considered in assessing the harm caused by the violation.) Accordingly, Plaintiffs’

20   improper focus on the alleged monetary cost to the City violates Ninth Circuit
21   precedent. Pimentel, 974 F.3d at 924 (“We found that a narrow focus on monetary
22   harms failed to capture the full scope of the injury.”)
23         The late payment penalty was set at an amount to deter people from not paying
24   their parking meter violation penalty on time. 03/16/17 Andalon Dep. at 56:9-57:3 and
25   85:17- 86:6, Ex. “2 (a)” to JEA; UMF D17. Monetary penalties provide a deterrence.
26   Towers v. City of Chicago, 173 F.3d 619, 625-26 (7th Cir. 1999); see also Pimentel,
27   974 F.3d at 924 (“the $63 parking fine is sufficiently large enough to deter parking
28

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 1   violations but is ‘not so large as to be grossly out of proportion’ to combatting traffic
 2   congestion in one of the most congested cities in the country.) Here, the late payment
 3   fee of $63 is significant enough to try and encourage prompt payment and discourage
 4   scofflaws who ignore the parking citation but is not so great as to render a serious
 5   deprivation to the violators. Great deference of these considerations and
 6   determinations must be given to the Los Angeles City Council. Pimentel, 974 F.3d at
 7   924 (“…we must afford ‘substantial deference to the broad authority that legislatures
 8
     necessarily possess in determining the types and limits of punishments.’ [Citations.]”)
 9
     Indeed, as the Seventh Circuit recognized in Discount Inn, Inc. v. City of Chicago, 803
10
     F.3d 317, 320 (7th Cir. 2015), there is a risk the expense of a violation might be too
11
     slight to have a deterrent effect.
12
           Despite this risk, and despite civil penalties being questions of legislative policy
13
     (Pimentel, 974 F.3d at 924), Plaintiffs fail to address this significant issue, and instead
14
     suggest the late payment penalties should have been set at a minimal amount ($25 or
15
     $15) – without any admissible factual or legal basis to support such penalty amounts.
16
     Indeed, under Plaintiffs’ analysis, this would absurdly mean $26 (or $16 for low
17
18   income people) would be unconstitutional. Prevailing case authorities and the

19   doctrines of federalism and separation of powers do not allow Plaintiffs to dictate

20   legislative policy to the City, and Plaintiffs have offered no legal support for their
21   position. Plaintiffs’ reliance on the unfounded, irrelevant and speculative opinions of
22   Jay Beeber and Jay Carsman are unavailing and should be disregarded. Fed.R.Evid.
23   Sections 401, 602, and 702-704. Whether the fine is unconstitutional is a legal question
24   for the Court to decide, and not properly the subject of expert or lay witness
25   opinion. Unsupported conjecture or conclusory statements do not create a genuine
26   dispute of material fact and will not defeat summary judgment. Surrell v. Cal. Water
27   Serv. Co., 518 F.3d 1097, 1103 (9th Cir. 2008). And fundamentally, the late payment
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 1   penalty is entirely avoidable, not an inherent component of the parking meter citation,
 2   and simply doubles the initial $63 fine. If anything, that is a proportional deterrent.
 3         Logically, if a penalty acts as a deterrent, the penalty is related to its purpose.
 4   Because the late payment penalty is related to its purposes of ensuring prompt
 5   collection and serving as a deterrent, it is not an unconstitutional excessive fine.
 6   See Mackby, 339 F.3d at 1019 (noting the government’s cost of enforcing the law
 7   against the person as justification for a fine). Plaintiffs’ continued wrongful assertion
 8
     that a civil penalty is unconstitutional if not tethered to any mathematical equation or
 9
     quantitative analysis has previously been, and should continue to be, rejected.
10
     Pimentel, 974 F.3d at 924 (“In light of that guidance from the Supreme Court, we do
11
     not believe that the Eighth Amendment obligated the City to commission quantitative
12
     analysis to justify the $63 parking fine amount.”) See also 05/21/18 Order at p. 10,
13
     Dkt. 131. Hence, the City’s late payment penalty does not violate the Excessive Fines
14
     Clauses in either the federal and California Constitutions, and summary judgment
15
     should be entered in favor of the City.
16
           C.     Plaintiffs’ “Means Analysis” Lacks Merit and Should Be Rejected.
17
18         Plaintiffs’ “as applied”/ means-testing argument should be rejected outright. As

19   the Ninth Circuit held, “[t]his is a novel claim in this circuit, and one the Supreme

20   Court expressly declined to address in Bajakajian. [Citation.] The Court
21   in Timbs likewise left the question open. [Citation.] We, too, decline Pimentel's
22   invitation to affirmatively incorporate a means-testing requirement for claims arising
23   under the Eighth Amendment's Excessive Fines Clause.” Pimentel, 974 F.3d at 924;
24   internal citations omitted. This Court should similarly decline to address the issue.
25          But even if addressed, Plaintiffs’ argument lacks merit. The City does not
26   dispute that Los Angeles has low-income residents, and that any monetary penalty will
27   be more of a financial burden on some people versus others. However, there is no
28

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 1   separate Eighth Amendment analysis for low-income residents; the Amendment and
 2   the late payment penalty apply to all individuals uniformly. While Plaintiffs contend
 3   the Court is to take into account the financial situation of the offenders, Plaintiffs fail
 4   to state how this can plausibly be done, nor any authority for it. In those cases where a
 5   party’s finances were examined in the context of a forfeiture or punitive damage award
 6   (not a parking citation penalty), the decisions all involved a single offender. People ex
 7   rel. Lockyer v. R.J. Reynolds Tobacco Co., 37 Cal.4th 707, 728 (2005); City and
 8
     County of San Francisco v. Sainez, 77 Cal.App.4th 1302, 1322 (2000). Unlike
 9
     uniformly imposed penalties, a single offender’s finances can be established and
10
     examined. Rather, as one court has noted, a penalty is an unconstitutional excessive
11
     fine if the amount is so disproportionate to the offense that there can be no realistic
12
     expectation that the offender will be able to pay it. See Boulder County Apt. Ass’n v.
13
     City of Boulder, 97 P.3d 332, 337-338, 2004 Colo. App. LEXIS 534 (2004). There is
14
     no realistic expectation that a registered owner of a vehicle will not be able to pay an
15
     entirely avoidable $63 late payment penalty. As such, any opinion by Dr. Valenzuela
16
     is irrelevant and immaterial to the issues in dispute and should be
17
18   disregarded. Fed.R.Evid. Sections 401 and 702-704.

19         Furthermore, but for Plaintiffs’ inaction, they would not be required to pay a late

20   payment penalty. Information about the payment plans were publicly available.
21   09/06/16 Beachum Dep. at 31:14-22, Ex. “2 (b)” to JEA; 08/19/21 Granado Dep. at
22   18:19-25 & 25:9-16, Ex. “34” to JEA. Before July 2018, if Plaintiffs met the
23   applicable federal guidelines, they could have sought an installment payment plan for
24   the initial fine and any late payment penalties that were incurred; since July 2018,
25   given the change in the Vehicle Code (following the City’s lobbying efforts) the late
26   payment penalties are waived if any individual meets the requirements. 08/19/21
27   Granado Dep. at 15:7-20:17, 19:11-20:12, 21:10-23:15, 24:6-28:3 & 36:3-37:20, Ex.
28

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 1   “34” to JEA. Plaintiffs failed to avail themselves of any installment payment plan
 2   offered by the City, and such failure subverts Plaintiffs’ arguments.
 3         D.     Generating Revenue Does Not Make the $63 Penalty Unconstitutional
 4         Even assuming the late payment penalty mainly generates revenue for the City
 5   rather than to deter violators as Plaintiffs contend, this Court has previously
 6   determined this does not make the penalty unconstitutional. 05/21/18 Order at p. 11,
 7   Dkt. 131 (“defendant’s motivations in crafting the penalty schedule do not bear
 8
     directly on the four factors courts consider when weighing the gravity of the relevant
 9
     offense.”) and Id., at p. 13 (“But the City’s intent to use the meter penalty as a revenue
10
     source for its General Fund, even if it were mutually exclusive from the penalty’s
11
     deterrent effect, does not render the penalty unconstitutionally excessive.”) The
12
     Southern District of California also rejected this exact argument in Popescu v. City of
13
     San Diego, 2008 U.S. Dist. LEXIS 5712 at *12, fn. 2; 2008 WL 220281 (S.D. Cal.
14
     2008). Plaintiffs’ argument continues to be unpersuasive and should be rejected.
15
           Because Plaintiffs cannot meet their heavy burden, summary judgment should
16
     be granted in favor of the City as a matter of law.
17
18   V.    Plaintiffs’ Argument: The City’s $63 Late Payment Fine is

19         Unconstitutionally Excessive

20         Bereft from the record was any legitimate justification for the City “setting the
21 late fee at one hundred percent of the initial fine.” Pimentel, 974 F.3d at 925. There
22 still is no non-pretextual justification being advanced for the City’s imposition of
23 a 100% late payment fine. The Ninth Circuit has reversed and remanded this matter
24 “for the court to determine under Bajakajian whether the late payment penalty of $63 is
25   grossly disproportional to the offense of failing to pay the initial fine within 21 days.”
26   Id. On this record, this directive can only be answered YES.
27
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 1         A.      The 100% Late Penalty is Not so Small as to Avoid Excessive Fine
 2                 Analysis
 3         In citing Judge Bennett’s concurrence, the City in Section IV(A), supra, leads
 4   off with what is its weakest argument, one that can be summarily dismissed in passing.
 5   Judge Bennett only “concurred” with the majority of the panel on appeal because the
 6   City of Los Angeles conceded that the Excessive Fines Clause applied to parking
 7   meter fines. In actuality, Judge Bennett plainly disagreed that it should apply to such
 8
     violations, because of the “potential” for endless litigation and “risks” of trivializing
 9
     the constitutional provisions. 974 F.3d at 924-28. In substance, this begrudging
10
     “concurrence” was a dissent. Had Judges Lee and Watford agreed with Judge Bennett
11
     this case would not have been returned to this Court for further proceedings.
12
     Defendant’s argument that the penalty is too small to be excessive is a non-starter.
13
           B.      Application of the “Four Factors” Test Supports Plaintiffs’ Excessive
14
                   Fine Position
15
           The City’s argument boils down to the mantra that considerable deference is due
16
     to a legislative body in setting fines, that the City has an interest in timely collection of
17
18   its fines, and that Plaintiffs are “blameworthy” for not paying the initial fine within 21

19   days. But a more searching analysis is required under the appellate panel’s decision.

20   How blameworthy? What is the strength of the interest asserted by the City? Is it
21   pretextual?
22         As this Court previously recognized, the deference due a legislative body in
23   establishing a fine or penalty is encompassed within the “gross disproportionality”
24   standard of Bajakajian, so Plaintiffs will not belabor that here. Similarly, as this Court
25   previously recognized in dismissing it, Plaintiff’s argument that there can be no Eighth
26   Amendment violation if the fine amount is within the authorizing statute would
27
28

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 1   effectively read Bajakajian out of existence. 18 Plaintiffs will proceed to a discussion
 2   of the factors trial courts apply on making the analysis. Plaintiffs agree that
 3   application of a rigid set of factors is not mandated but will start with the four
 4   Bajakajian factors.
 5         Plaintiffs agree with the City that the culpability of the offense and the harm
 6   caused are related factors, so they will be addressed together here. But some initial
 7   observations are warranted.
 8
           At the outset, the City’s artificial attempt above to couple the failure to pay the
 9
     initial fine that generates the late penalty that is the object of these cross-motions to the
10
     underlining violation of the meter in an effort to pump up the culpability of the latter,
11
     merits outright rejection. The failure to pay the initial fine timely, a separate offense,
12
     must be considered on its own, which is precisely what the appellate court directed in
13
     remanding this case.
14
           Second, the City’s repeated suggestion that these Plaintiffs are somehow
15
     culpable for not pursuing challenges to their citations is absurd. They did not
16
     challenge the citations because they conceded in each case that they had
17
18   (unintentionally in most cases) run over the meter or had no strong basis to challenge.

19   Consequently, that cannot be a cognizable factor in the analysis.

20         Third, the attempt to depict the Plaintiffs as scofflaws is unsupported in the
21   record; they all paid their citations when financially able to do so.
22         Fourth, a defendant’s state of mind and his motive in committing the offense can
23   be considered in the Excessive Fines context. Solem v. Helm, 463 U.S. 277, 290–91,
24
25   18
         The cases the City cites as to administrative bodies issuing fines within the range
26   established by a legislative body simply have no application here. See also United
     States v. Mackby, 339 F.3d 1013, 1017 (9th Cir. 2003) (the “possible penalty available
27   under the FCA is instructive but not dispositive of the constitutional question”), citing
28   Bajakajian.

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 1   293 (1983). None of the Plaintiffs intended to avoid timely payment of the initial fine
 2   or late penalty. (Baird Decl., ¶¶ 2-4, Ex. 8 to JEA; Buelna Decl., ¶¶ 3-4, Ex. 14 to JEA;
 3   Lee Decl., ¶ 3, Ex. 9 to JEA; O’Connell Decl. ¶¶ 3-4, Ex. 10 to JEA; Pimentel Decl. ¶
 4   5, Ex. 11 to JEA; Welch Decl., ¶¶ 2-5, Ex. 12 to JEA); Cooper Decl. ¶¶ 3-4, Ex. 13 to
 5   JEA). And it is common knowledge that with the multiple obligations and busy
 6   schedules of the current era it is easy, if not uncommon, to overlook or forget a
 7   payment deadline as short as 21 days, and otherwise not pay a bill timely. 19
 8
           Fifth, many persons cannot afford to pay a bill at the time it is due. Five of the
 9
     Plaintiffs here simply could not afford to pay by the due date. (Baird Decl., ¶¶ 2-4, Ex.
10
     8 to JEA; Buelna ¶¶ 3-4, Ex. 14 to JEA; Lee Decl., ¶ 3, Ex. 9 to JEA; O’Connell Decl.,
11
     ¶¶ 3-4, Ex. 10 to JEA; Pimentel Decl., ¶ 5, Ex. 11 to JEA; see also Valenzuela Decl. ¶¶
12
     26-32, Ex. 7 to JEA). In that situation, it follows logically that “where punishment is
13
     meted out for a failure to pay, the violator’s ability to pay is an inherent part of the
14
     culpability analysis under the first Bajakajian factor.” Lemon v. Pierce County, 2021
15
     WL 3665855, *7 (W.D. Wash., Aug. 18, 2021) (emphasis added). This is a critical
16
     point; the culpability of these Plaintiffs must be viewed at the lowest end of the scale.
17
18         Plaintiffs will now analyze more specifically the critical factors of harm to the

19   City and culpability in this case.

20         The appellate court in this case found that overstaying the meter beyond the time
21   paid for to be of minimal, but not de minimis culpability. 974 F.3d at 23. That is
22   understandable, given that other persons were deprived of access to the parking space
23   and traffic flow and congestion were implicated, on top of the City being deprived of
24   the meter fare.
25
26
     19
        For those who use credit cards or have other credit obligations, a monthly payment
     cycle is the norm. Even credit card companies, who are in the business of making
27   money, on average charge 1.35% interest rate per month on outstanding balances – not
28   an exorbitant 100%. See, https://www.creditcards.com/credit-card-news/rate-report/.

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 1         In complete contrast, the failure to pay a citation within 21 days, a mere three
 2   weeks, is on the very lowest end of blameworthy or heinous conduct; it is truly de
 3   minimis. The failure to pay within 21 days does not remotely implicate the threat of
 4   harm that violation of the meter does. No issues remotely on the scale of traffic
 5   congestion and flow or safety are implicated, and no other persons are in any way
 6   harmed or inconvenienced.
 7         While the City may have a legitimate interest in timely collection of its fines, the
 8
     failure to pay within 21 days imposes at most a negligible monetary cost on the City,
 9
     the monetary equivalent of a tiny amount of interest on the owed amounts
10
     (approximately 1% or less). This initial 100% late payment penalty thus is of an
11
     entirely different nature and order of magnitude than the harm to the City that the
12
     appellate court focused on as to the initial meter violation; it is truly de minimis.
13
           Yet, by setting the initial late payment penalty amount as the exact same amount
14
     for violating the meter initially, the City has necessarily equated the purported harm of
15
     these two very disparate violations. This is a very key point the City intentionally
16
     skirts addressing.
17
18         The Ninth Circuit in its decision did not require a narrow focus on monetary

19   harm as to the initial $63 fine, because deterrence of traffic congestion was implicated.

20   Here, in contrast, the City essentially proffers no more than minimal monetary loss as
21   to the failure to timely pay the initial $63 fine. Above, the City itself recasts its interest
22   in prompt payment of the fine as avoiding the costs of “further collection efforts.” In
23   the relevant collection sequence, those efforts, at least through imposition of the
24   second $25 late penalty, amount to nothing more than mailing another late notice, any
25   more vigorous collection efforts coming only after a failure to pay both late penalties.
26   So costs to the City are indisputably relevant in the analysis of harm.
27
28

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 1          The second late payment penalty imposed by the City, which is $25, clearly
 2   demonstrates the naked disproportionality of the initial $63 late penalty. As the City
 3   states, it is applied if payment is not received within approximately 58 days. A person
 4   who has not paid for 58 days is necessarily more culpable than a person who has not
 5   paid within 21 days. Yet the $25 second penalty is $38 less, or less than 40% of the
 6   amount of the initial $63 late penalty, although the number of days that make up that
 7   second failure to pay is 37 days more, a time period over 43% longer than the initial
 8
     21-day delinquency period that triggers the initial $63 late penalty. 20 This illogical,
 9
     topsy-turvy disproportionality lays bare that the $63 initial late penalty is arbitrary and
10
     not reasonably related to deterring late payment, or to any other legitimate goal.
11
     Recognizing this gross disparity between the $63 initial late penalty and the
12
     subsequent $25 late penalty does not somehow implicate a detailed “quantitative
13
     analysis,” as the City seems to imply.
14
            As to the second Bajakajian factor, whether the underlying offense relates to
15
     other illegal activities, as the appellate court found with respect to the meter violation,
16
     there is no basis to find that it does.
17
18          As to the third Bajakajian factor—whether other penalties could have been

19   imposed for the failure to timely pay the initial meter fine—, a very telling comparison

20   here is presented in California Vehicle Code section 40310, which provides as to non-
21   parking infractions (that is, more serious, vehicle operation offenses), a 50%, not 100%
22   penalty, on top of the initial fine if payment is not made within three weeks of mailing
23   of notice of the initial fine. A 50% penalty would be $31.50, not $63. While the
24   Legislature has not prescribed what late penalties the City can charge as to parking
25   citations, this is highly instructive. The City has nothing to say about this comparison.
26
27   20
        Even were the two time periods the same, the 58-day offender is by definition a
28   repeat offender and more culpable.

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 1   It is also appropriate under this third factor to compare the City’s own second $25 late
 2   payment penalty with the initial $63 late penalty (first penalty 250% more than
 3   second).
 4         Plaintiffs submit that the $63 initial penalty is grossly disproportional and thus
 5   should be struck down as unconstitutionally excessive. As Judge Lee aptly observed:
 6   “But then isn’t 100 percent of a late fee disproportionate – grossly disproportionate to
 7   the offense of paying late? I mean hundred percent late fee, I mean a loan shark would
 8
     blush at that kind of rate.” (Ex. 4 to JEA, at p. 16:16-20.).
 9
           As to the third Bajakajian factor, the appellate court emphasized that neither
10
     party had suggested an alternative penalty. Pimentel, 974 F.3d at 923. Plaintiffs do so
11
     here on remand. The initial penalty should be no more than $25, the amount of the
12
     second late penalty that the longer failure to pay invokes. And if this Court undertakes
13
     an “as applied” analysis to the five low-income plaintiffs, it should be no more than
14
     $15. Those necessarily serve as deterrents to late payment. The history of the
15
     adoption of the penalty, to which Plaintiffs now turn, strongly supports this conclusion
16
     and limitation.
17
18         C.     The City’s Motive in Setting the Late Penalty Was to Stuff its

19                Coffers

20         The Supreme Court in Timbs v. Indiana, 586 U.S. __, 139 S. Ct. 682 (2019),
21   emphasized as a fundamental concern animating the excessive fines clause that the
22   government would resort to using “fines to [raise revenues] … in a measure out of
23   accord with the penal goals of retribution and deterrence.” Id. at 688-89. Comparing
24   fines to other forms of punishment that “cost a State money,” the Supreme Court cited
25   criticism of the 17th century Stuart kings in particular in that respect. Id. The Court
26   further cited Justice Scalia’s statement in Harmelin v. Michigan, 501 U.S. 957, 979,
27   n.9 (1991), that “it makes sense to scrutinize governmental action more closely when
28

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 1   the State stands to benefit.” This concern was characterized in Timbs as “scarcely
 2   hypothetical.” Timbs, 139 S. Ct. at 689. The City’s motives in setting the initial $63
 3   late penalty are thus highly material here. See also Browning-Ferris Industries of
 4   Vermont, Inc. v. Kelco Disposal, Inc., 492 U.S. 257, 267 (1989) (the very purpose of
 5   the Excessive Fines Clause was to “limit[ ] the ability of the sovereign to use its
 6   prosecutorial power, including the power to collect fines, for improper ends”).
 7         The City has charged the initial 100% late payment penalty at least as far back
 8
     as 2002. (Beeber Decl., ¶ 17, Ex. 5 to JEA). The penalty amount was raised dollar for
 9
     dollar as the initial fine for overstaying the meter was raised: from $35 in 2002 to $63
10
     in 2012, an automatic dollar-for-dollar increase of 64% in just ten years. (Beeber Decl.,
11
     ¶ 20, Ex. 5 to JEA). That is, the City raised the penalty dollar for dollar as the base
12
     initial fine level for violating the meter increased, arbitrarily without rhyme or reason,
13
     or deterrent or remedial need. The rise was not the result of any deliberation of need to
14
     increase it. The late payment penalty was in no way tethered to deterrence or safety
15
     concerns. No consideration was given to increasing the late penalty at a rate less than
16
     that of the increase during the same ten-year period in the initial fine for overstaying
17
18   the meter. It is undisputed that the late payment fine is not based on any interest rate,

19   inflation, cost of money, cost of living, or any other metric. This arbitrarily high 100%

20   rate was in essence plucked out of the air to generate additional revenues for the City.
21         On the prior summary judgment motion, Plaintiffs in fact submitted substantial
22   evidence, including from percipient experts, that the City’s penalty increase occurred
23   in response to annual pressure to increase General Fund revenue for the City. That
24   identical evidence is provided once again here. (Carsman Decl., ¶¶ 9-10, Ex. 6 at JEA;
25   Beeber Decl., ¶¶ 45-57, Ex. 5 at JEA).
26         In sum, the evidentiary record here amply supports the inference that the City in
27   fact raised fines across-the-board for all parking citations and the late payment
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 1   penalties for the improper purpose of increasing revenue to its General Fund, rather
 2   than to deter violators, or for other legitimate purposes. The City in fact admits, as it
 3   must, that it was motivated to raise the initial fine and subsequent penalties for that
 4   very purpose. After the head of the City’s Department of Transportation
 5   recommended in 2016 to the Mayor and City Council that the initial fine of $63 be
 6   decreased by at least $10 the City Controller, Ron Galperin vociferously objected to
 7   this proposed fine decrease stating: “As much as we’d like to reduce parking fines, we
 8
     currently rely on the revenues.” (Ex. 28 at JEA). Mr. Galperin reported that in 2016
 9
     alone at least $41 million in parking violation revenue “was transferred to the City’s
10
     General Fund to help pay for city services” unrelated to parking enforcement. (Id.).
11
            If this Court is not inclined to find the late penalty unconstitutionally excessive
12
     on summary judgment, this material evidence alone creates a genuine dispute of
13
     material fact that warrants a jury trial on the merits.
14
           D.     The Relief Sought Here by Plaintiffs Does not Implicate a Violation of
15
                  Federalism
16
           The City newly mints a contention that the relief sought here somehow involves
17
18   a sweeping violation of the separation of powers and federalism. That inflated rhetoric

19   is unwarranted. Plaintiffs do not seek to take over the City Council’s parking violation

20   scheme, but rather only mount an Eighth Amendment challenge to the amount of a
21   single penalty. Accepting that argument would effectively counter Bajakajian and the
22   Ninth Circuit’s directive to determine this issue on remand. The argument also ignores
23   that there is a challenge here under the analogous California constitutional provision.
24         E.     The Cases Cited by the City are Not Persuasive Authority Here
25         The City cites a number of cases in support of its position at Section IV(B)(2),
26   supra. These cases, however, do not advance the City’s position and are readily
27   distinguishable.
28

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 1         The City cites Wemhoff v. City of Baltimore, 591 F. Supp. 2d 804, 809 (D. Md.
 2   2008) and Popescu v. City of San Diego, 2008 WL 220281, at *4 (S.D. Cal. Jan. 25,
 3   2008). The Ninth Circuit on appeal dismissed this Court’s prior citations to these cases
 4   on the issue of the late penalty because they “only provide conclusory assertions.” 974
 5   F.3d at 925. So it is puzzling why the City again relies on these rejected authorities.
 6   Popescu also grounded its decision on the plaintiff’s “failure to appear in court when
 7   required to do so,” a factor without application here. The City also cites Shibeshi v.
 8
     City of New York, 2011 WL 13176091 (S.D.N.Y., Sep. 21, 2011), which is even a
 9
     more conclusory decision than Wemhoff and Popescu, in that it devoted all of one
10
     paragraph to an analysis as to a plaintiff who questioned the validity of the underlying
11
     tickets without having timely disputed them, cited only to Popescu, and based its
12
     ruling in part on the fact that the plaintiff was not a “convicted prisoner.” 2011 WL
13
     13176091 at *7. That case effectively lends the City zero support.
14
           The three other cases cited by the City, Moustakis v. City of Fort Lauderdale,
15
     338 Fed. App’x 820, 821 (11th Cir. 2009) (plaintiffs for years allowed penalties of
16
     $150 per day to be assessed for uncorrected code violations resulting in a $700,000
17
18   lien being placed on their property), Duisberg v. City of Austin, 2020 WL 6122951

19   (Tx., Oct. 16, 2020) (continual violations of housing codes), and Conley v. City of

20   Dunedin, 2010 WL 146861 (M.D. Fl., Jan. 11, 2018) (failure to pay penalties for 3.5
21   years), like Wemhoff, all involved a failure to pay over a very extended period of time.
22   Here we are dealing with a one-time failure to timely pay a $63 fine within 21 days.
23   Accordingly, these cases have no applicability and are otherwise not persuasive here.
24         F.     The Financial Condition of Five of the Plaintiffs Bears on the
25                Constitutionality of the Late Penalty
26         Not only is the Plaintiffs’ ability to pay directly relevant to culpability, see
27   Lemmon v. Pierce County, 2021 WL 3665855, at *7 (W.D. Wash., Aug. 18, 2021), it,
28

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 1   as this Court ruled early in the case, is a relevant factor as to the constitutionality of the
 2   magnitude of the penalty in question. That finding was not contrary to any binding or
 3   persuasive authority. “Whether the Excessive Fines Clause analysis incorporates a
 4   separate means-testing requirement remains an open question (see Bajakajian, 524
 5   U.S. at 340 n.15; Pimentel, 974 F.3d at 924-25).” Lemmon, 2021 WL 3665855, at *7. 21
 6   This Court’s view is amply justified.
 7         One of the main purposes of the ban on excessive fines was to prevent the King
 8
     from assessing “unpayable fines.” Browning-Ferris, 492 U.S. at 267. While the
 9
     Supreme Court in Timbs did not decide the issue, it strongly suggested how it would
10
     decide it. 22 The Supreme Court majority in Timbs necessarily recognized, by virtue of
11
12
13
     21
        In Bajakajian, Justice Thomas in his majority opinion pointed out that the defendant
     there did not argue “that his wealth or income are relevant to the proportionality
14   determination or that full forfeiture would deprive him of his livelihood.” 524 U.S. at
15   340 n.15 (emphasis added). This suggests that the Supreme Court had not ruled out
     financial status as a relevant factor and might well have considered the defendant’s
16   financial status had it been raised.
17
     22
       Timbs focused in on a groundswell of concern across the political spectrum over
18
     abuse of fines. Because sovereigns are always thirsty for money, and fines and
19   forfeitures are often an easy way to get this money, they are thus especially likely to be
20   abused. Today, the system of targeting the poor with fines and then imposing “poverty
     penalties” generates huge sums for states and localities, as do forfeitures. They operate
21   as regressive taxes—where those with the least ability to pay end up paying the most.
22   And these practices are especially politically appealing because, as Timbs noted, they
     reduce taxes for the wider population, while burdening those who are least likely to
23   push back. Failure to pay promptly may lead to still greater fees and surcharges, and
24   can harm credit, which can make it harder to find stable housing and employment.
     Such poverty penalties are traps—stepped over by most citizens who are able to pay,
25   but serious obstacles with real consequences for those who are not. Debtors have been
26   forced to choose between “basic necessities such as food, hygiene, and housing on the
     one hand, and making payments against their economic sanctions on the other.” See
27
     Beth A. Colgan, Reviving the Excessive Fines Clause, 102 Cal. L. Rev. 277, 293
28

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 1   its express reference to Blackstone’s definitive 18th century Commentaries on the
 2   Laws of England, that, in addition to Magna Carta’s prohibition on deprivation of
 3   one’s livelihood, the law had evolved over the centuries since Magna Carta to provide
 4   that no man should have a larger fine imposed upon him “than his circumstances or
 5   personal estate will bear.” Timbs, 139 S. Ct. at 688. Blackstone’s “works constituted
 6   the preeminent authority on English law for the founding generation.” Alden v. Maine,
 7   527 U.S. 706, 715 (1999); Timbs 139 S. Ct. at 688 (Bajakajian’s author Justice
 8
     Thomas concurring). Indeed, the text of the Eighth Amendment was “‘based directly
 9
     on ... the Virginia Declaration of Rights,’ which ‘adopted verbatim the language of the
10
     English Bill of Rights.’” Browning-Ferris, 492 U.S. at 266 (quoting Solem v. Helm,
11
     463 U.S. 277, 285, n.10 (1983); see Timbs, 139 S. Ct. at 695 (Thomas, J., concurring).
12
     Confirming Blackstone’s formulation, that clause in the Virginia Declaration of Rights
13
     embodied the understanding under English law that any “fine or amercement ought to
14
     be according to the degree of the fault and the estate of the defendant.” Jones v.
15
     Commonwealth, 5 Va. 555, 557 (1799) (opinion of Carrington, J.) (emphasis added);
16
     Timbs, 139 S. Ct. at 695 (Thomas, J. concurring). Thus, it cannot be disputed that the
17
18   historical record substantiates Plaintiffs’ position that the offender’s financial condition

19   becomes a necessary factor in the excessive fines analysis when raised by an offender.

20         While not definitive, there is prior Ninth Circuit case law supporting this
21   position. In United States v. Real Property Located in El Dorado, 59 F.3d 974, 985
22   (9th Cir. 1995), the Ninth Circuit constructed an Eighth Amendment excessive fines
23   proportionality test, application of which required consideration of “the hardship to the
24   defendant, including the effect of the forfeiture on defendant’s family or financial
25   condition.” El Dorado was abrogated in part on other grounds by the Supreme Court’s
26
     (2014). The declarations here of the individual named Plaintiffs as to their limited
27
     financial means and of Plaintiffs’ expert Dr. Valenzuela graphically demonstrate this.
28

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 1   decision in Bajakajian. United States v. 1,679 Firearms, 87,983 Rounds of
 2   Ammunition, 659 Fed. App’x 422, 425 (2016); Ferro, 681 F.3d at 1115.23 But the
 3   portion of El Dorado concerning a defendant’s ability to pay would still appear to be
 4   good law. In fact, as recently as five years ago in 1,679 Firearms, the Ninth Circuit
 5   stated that the district court “should also consider” in the excessive fines inquiry the El
 6   Dorado factor of “hardship to the defendant,” including “the effect on the defendant’s
 7   family or financial condition.” 659 Fed. App’x at 426-427 & n.6. This position in fact
 8
     faithfully captures the Founder’s intent in promulgating the Excessive Fines Clause of
 9
     the Eighth Amendment.
10
           Fourth, even were it not a required consideration, courts traditionally have had
11
     the power to reduce a fine if it is determined that the defendant is without adequate
12
     financial resources to pay. See, e.g., United States v. Emerson, 107 F.3d 77, 81 (1st
13
     Cir. 1997); cf. Cal. Veh. Code § 42003(c) (vehicle violations processed through the
14
     Superior Courts that judges “shall consider the defendant’s ability to pay” when
15
     imposing a fine).
16
           Parking ticket fines and penalties have a disproportional impact on low-income
17
18   individuals because fines are fixed (and expensive) and cannot easily be paid, unlike in

19   the case for higher income or wealthy individuals. (Valenzuela Decl. ¶¶ 23-25, Ex. 7 at

20   JEA; Beeber Decl., ¶¶ 41-44, Ex. 5 at JEA). Social science research on poverty shows
21   the unstable and almost day-to-day or pay-check-to-pay-check existence that low-
22   income individuals confront. (Valenzuela Decl., ¶¶ 23-25, Ex. 7 at JEA).
23         For the above reasons, the City’s position that financial status is not a proper
24   subject in the constitutional Excessive Fines analysis can be soundly rejected. It is
25
26   23
        El Dorado included a “second prong” to the proportionality test, which did not
27   survive Bajakajian.
28

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 1   very likely that employing it would survive an appellate challenge. And it indisputably
 2   is a factor under the California constitution analysis, so it is at least applicable to that
 3   state law claim.
 4         Finally, the City’s claim that Plaintiffs have not suggested how this can be taken
 5   into account as to the penalty amount ignores that Plaintiffs have suggested that this be
 6   determined under the very same and apparently workable federal income standards the
 7   City adopts as to its payment plans.
 8
           G.     Five Plaintiffs Have Established Their Low-Income Status
 9
10         It is undisputed that five of the Plaintiffs could not timely pay the initial meter

11   fines, precisely due to their limited financial circumstances, and incurred the late

12   penalties for that reason. Plaintiff Buelna is a low-income paraplegic living on social
13   security who could not timely pay his citations, and payment of the late penalties
14   imposed egregious hardship on him. (Buelna Decl., ¶¶ 3- 4, Ex. 14 at JEA). Plaintiff
15   Lee is a low-income person and could not afford to timely pay the initial fines or late
16   penalties. (Lee Decl., ¶ 3, Ex. at JEA). Plaintiff Baird was a low-income person who
17   could not afford to timely pay her meter citation fines or the late penalties. (Baird
18   Decl., ¶¶ 2-5, Ex. 9 at JEA). Payment of the fines and penalties imposed a substantial
19   financial hardship on her. (Id. at ¶ 3). As a result, she could not register her car, and it
20   was impounded. (Id. at ¶¶ 2, 5). Plaintiff O’Connell was a low-income person who
21   incurred a series of meter fines and late penalties that he could not afford to pay.
22   (O’Connell Decl., ¶¶ 3-4, Ex. 10 at JEA). As a result, his car was impounded twice,
23   and he lost the vehicle. (Id. at ¶ 8). He was unable to work and forced to move back to
24
     his mother’s house on the east coast due to his inability to support himself in
25
     California. (Id.). Plaintiff Jesus Pimentel could not pay his initial parking fine and the
26
     late penalties without jeopardizing his ability to pay more critical obligations and due
27
     to financial hardship. (Pimentel Decl., ¶¶ 4-6, Ex. 11 at JEA).
28

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 1         According to Plaintiffs’ eminently qualified expert on urban poverty in Los
 2   Angeles and the impact of fines/penalties on low-income households, Dr. Abel
 3   Valenzuela, all these Plaintiffs except Pimentel qualified as very low-income persons
 4   under the City’s own guidelines applicable to when a person challenging a parking
 5   citation could do so without first depositing the initial fine and any penalties, 24
 6   and indeed, under any standard, and Pimentel qualified as a low-income person under
 7   the City’s standard and otherwise; and that payment of the meter fine and late penalties
 8
     inflicted hardship on them. (Valenzuela Decl., ¶¶ 19, 26-28, 31-32, Ex. 7 at JEA).
 9
     VI.   Conclusion
10
           A.     Defendant’s Conclusion
11
           Based on the foregoing, the City’s late payment penalty is lawful. Plaintiffs
12
     have not and cannot both (a) overcome the strong presumption that the late payment
13
     penalties are constitutional, and (b) prove that the judgments reached by the Los
14
     Angeles City Council in enacting the parking meter penalty amounts should be
15
     superseded by this Court. As a matter of law, these principles defeat Plaintiffs’ claims
16
     for relief in their entirety. Additionally, prevailing law and the Bajakajian factors
17
18   establish the City’s late payment penalties are not excessive fines in violation of the

19   United States or California Constitutions, and summary judgment in favor of the City

20   is warranted.
21         B.     Plaintiffs’ Conclusion
22
23
24   24
        Inquiry into financial status would not be cumbersome because Plaintiffs seek to
25   apply the same test for low-income or very low-income status that the City has been
26   using for years to determine whether a cited person who disputes guilt as to a parking
     ticket can forego paying the initial fines and late penalties pending an administrative
27   review of the cited party’s challenge of guilt.
28

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             JOINT BRIEF REGARDING THE PARTIES’ CROSS-MOTIONS FOR SUMMARY JUDGMENT
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 1         It is not enough to say that the late payment penalty is lawful because the City
 2
     has a legitimate interest in timely collecting its fine and a late payment penalty
 3
     promotes that interest. The penalty imposed still can be unconstitutionally excessive
 4
     as it is here. Otherwise, the City could charge whatever it wanted without limits or
 5
     bounds. Moreover, the City’s motives in setting the arbitrary penalty were in
 6
     substantial part improper and no legitimate justification has been proffered by the City.
 7
     As the Ninth Circuit so eloquently stated: The “right to be free from excessive
 8
     governmental fines is not a relic relegated to the period of parchments and parliaments,
 9
     but rather it remains a crucial bulwark against government abuse. The government
10
     cannot overstep its authority and impose fines in citizens without paying heed to the
11
     limits posed by the Eighth Amendment”. Pimentel, 974 F.3d at 925.
12
           Plaintiffs have overcome any deference due the City Council’s determination as
13
14   to the late penalty and shown it is unconstitutional as a matter of law. It should be

15   stricken or reduced, and its effect on low-income persons considered. Based on the

16   undisputed fact record presented by the Plaintiffs, a grant of summary judgment in
17   their favor is appropriate under Rule 56. At minimum, there are material issues of fact
18   here which mandate a denial of the City’s motion and that warrant a full trial.
19
     DATED: September 28, 2021 MICHAEL N. FEUER, City Attorney
20
                               KATHLEEN A. KENEALY, Chief Deputy City Atty
21                             SCOTT MARCUS, Senior Assistant City Attorney
22                             GABRIEL S. DERMER, Assistant City Attorney
                               ARLENE N. HOANG, Deputy City Attorney
23
24                                    By:    /s/ Arlene N. Hoang
                                             Arlene N. Hoang, Deputy City Attorney
25                                           Attorneys for Defendant, City of Los Angeles
26
27
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            JOINT BRIEF REGARDING THE PARTIES’ CROSS-MOTIONS FOR SUMMARY JUDGMENT
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                                   #:2223



 1   DATED: September 28, 2021                 DONALD G. NORRIS,
 2                                             A LAW CORPORATION
                                               Donald G. Norris
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 6                                       By:    /s/ Donald G. Norris
                                                DONALD G. NORRIS
 7                                              DONALD R. PEPPERMAN
 8                                              Attorneys for Plaintiffs
 9
               Pursuant to L.R. 5-4.3.4(a)(2)(i), all other signatories listed, and on whose
10             behalf the filing is submitted, concur in the filing’s content and have
11             authorized the filing.

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           JOINT BRIEF REGARDING THE PARTIES’ CROSS-MOTIONS FOR SUMMARY JUDGMENT
